Case 19-30875 Doci1 Filed 05/31/19 Entered 05/31/19 14:14:15 Page 1 of 50

CUT

 

United States Bankruptcy Court for the:

District of Connecticut

Case number (fknowny Chapter you are filing under:
Chapter 7
LY Chapter 14

UL) Chapter 12 QO Co
UY Chapter 13 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 4217

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—calied a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

identify Yourself

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your full name
Write the name that is on your :
government-issued picture Jeffrey Elizabeth
identification (for example, First name First name
your driver's license or Alexander Ann
passport). Middle name Middle name
Bring your picture Belske Belske
identification to your meeting —- Last name Last name
with the trustee.
Suffix (Sr, Jr, Hy TH) Suffix (Sr.. Jr. Ih WD
2. All other names you
have used in the last 8 First name First name
years
include your married or Middle name Middie name
maiden names. ;
Last name Last name
First name First name
Middie name Middie name
Last name Last name
3. Only the last 4 digits of
your Social Security Xxx = XX = 7 6 1 6 XXX — XX -—_ 3 3 4 7
number or federal OR OR
individual Taxpayer
Identification number 9xx = xx = 9xx - x mL
(I TIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 4 Jeffrey & Elizabeth Belske

 

First Name Middle Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

"5. Where you live

'¢. Why you are choosing
this district to file for
bankruptcy

Official Form 1014

Last Name
About Debtor 1:

C) | have not used any business names or EINs.

Case number (if known),

Page 2 of 50

 

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

 

 

 

 

 

EIN EIN
EING 0 BEING 7
If Debtor 2 lives at a different address:
Number Street Number Street
City State ZIP Code City State ZIP Code
County County

tf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

CJ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O) | have another reason. Expiain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
Debtor 1

 

7.

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Jeffrey & Elizabeth Belske

First Name Middle Name

Page 3 of 50

Case number (if known)

 

Last Name

Tell the Court About Your Bankruptcy Case

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

410. Are any bankruptcy

11,

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

(4 Chapter 7

CJ Chapter 11
C} Chapter 12
[] Chapter 13

\Z | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

C] | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

C] | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

No
LC) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
(A No
C) Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known.

 

MM/DD/YYYY

Wino. Goto line 12.
Cl yes. Has your landlord obtained an eviction judgment against you?

[) No. Go to line 12.

CJ Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Jeffrey & Elizabeth Belske Case number (t known)

First Name Middle Name Last Name

 

Report About Any Businesses You Own as a Sole Proprietor

 

 

12, Are you a sole proprietor (4) No. Goto Part 4.
of any fuli- or part-time
business? C) Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC. Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

L) Health Care Business (as defined in 11 U.S.C. § 101(27A))
L} Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CL) Stockbroker (as defined in 11 U.S.C. § 101(53A))

Q) Commodity Broker (as defined in 11 U.S.C. § 101(6))

Ll None of the above

43. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1176(1)(B).

debtor? Y a
a No. [am not filing under Chapter 11.
For a definition of small
business debtor, see C) No. 1am filing under Chapter 11, but | am NOT a smail business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

C] Yes. }am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Part CHa Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  

 

14. Do youownorhaveany (no
property that poses or is ,
alleged to pose a threat Cl Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs lf immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuats Filing for Bankruptcy page 4
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Debtor 4 Jeffrey_& Elizabeth Belske

First Name Middle Name

 

Last Name

Case number (if kaown)

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

bd | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ol certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ 1am not required to receive a briefing about
credit counseling because of:

Q incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LJ} Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) lreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

1 certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) iam not required to receive a briefing about
credit counseling because of:

QQ) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Cd Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
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Jeffrey & Elizabeth Belske

First Name Middle Name Last Name

Case number (if known)

Debtor 1

Answer These Questions for Reporting Purposes

 

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 104(8)

16. What kind of debts do as “incurred by an individual primarily for a personal, family, or household purpose.”

you have?
C1 No. Go to line 16b.

) Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LQ No. Go to line 16c.
(J Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

17, Are you filing under
Chapter 7? C1 No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after C} ves. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and CL] No
administrative expenses

are paid that funds will be U Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo 1-49 C) 1,000-5,000 LJ 25,001-50,000
you estimate that you C] 50-99 C) 5,001-10,000 C) 50,001-100,000
owe? CL} 100-199 OQ) 10,001-25,000 CJ More than 100,000
LI 200-999 .
19. How much do you C) $0-$50,000 (2 $1,000,001-$10 million L) $500,000,001-$1 billion

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

Official Form 101

CJ $50,001-$100,000
4 $100,001-$500,000
C) $500,001-$1 million

C} $0-$50,000

C) $50,001-$100,000
iZ $100,001-$500,000
C} $500,001-$1 million

CJ $10,000,001-$50 mitlion
LJ $50,000,001-$100 million

C3 $100,000,001-$500 million

CL) $1,000,001-$10 million

LJ $10,000,001-$50 million
C) $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $1,000,000,001-$10 billion
C? $10,000,000,001-$50 billion
CL} More than $50 billion

(2 $500,000,001-$1 billion

C} $1,000,000,001-$10 billion
L) $10,000,000,001-$50 billion
L} More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. “yi 152, 1341, 1519, and 3571.

2 of bebtor 1 1 Signature &F Debtor 2

Executed on 05/24/2019
“MM 7 DD /YYYY

 

Executed on 05/24/2019
MMs; DD /YYYY—

Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
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Debtor 1 Jeffrey & Elizabeth Belske Case number (if known)

First Name Middle Name

For your attorney, if you are
represented by one

If you are not represented

by an attorney, you do not
need fo file this page.

Official Form 101

 

Last Name

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

x ow C. Molar Date 05/24/2019

Signature of Attorsdy fofBdbtor MM / DD /YYYY

 

Gregory T. Nolan, Esq.

Printed name

Renzullo & Associates
Firm name

65 Elm Street

Number Street

 

 

 

 

Winsted CT 06098
City State ZIP Cade
Contact phone (860) 379-9885 Email address gregory@kinsmannolan.com
423605 CT
Bar number State
Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Coca nee

Debtor 1 Jeffrey Alexander Belske

First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Belske
(Spouse if, filing} First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: © DISTRICT OF CONNECTICUT

 

Case number
(if known) CI Check if this is an

amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B..... cece cece tcers ee cieeseeseseserstsesaeseecatiesseteansstecetee $ 149,000.00
ib. Copy line 62, Total personal property, from Schedule A/B.......cccecceceeeesecceeceeeeeseeseeteeceesesecessacenevststvetecssvetsaeeses $ 1,177.00
1c. Copy line 63, Total of all property on Schedule A/B..... crete renee ee teeeetensuenseseerscitititeseasitetaseeeesees $ 150,177.00

| Summarize Your Liabilities

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 136,504.05
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F oo... cccccccccseccseeeeee $ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F....00..0.e ces $ 73,576.49
Your total liabilities | $ 210,080.54
Summarize Your Income and Expenses
4. Schedule : Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule boo..iocccc ccc ceccceteceeececcsensscescuseversesecssseusseecvivessensee $ 2,499.80
5. Schedule J: Your Expenses (Official Form 106J)
$ 3,312.00

Copy your monthly expenses from line 22c of SCHEQUIO Joooccccccccccccsecectteveecesectestseeeurratesecitetssteereerees

Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
EC] No. You have nothing to report on this part of the farm. Check this box and submit this form to the court with your other schedules.

Ei Yes
7. What kind of debt do you have?

fa Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

1 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known)

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. 0.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ _ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 53,556.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) $ cee 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 53,556.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Aone het rie

Debtor 1 Jeffrey Alexander Belske

First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Belske
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number [Check if this is an
amended filing

 

Official Form 106A/B
Schedule A/B: Property 12/18

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number {if known).
Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CO No. Go to Part 2.

a Yes. Where is the property?

 

 

 

 

 

11 What is the property? Check all that apply
27 Clough Road (1 Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description nt bit a the amount of any secured claims on Schedule D:
C) Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Waterbury CT 06708-1817 [] Land entire property? portion you own?
City State ZIP Code [1] investment property $149,000.00 $149,000.00
Timeshare . wo
oO Describe the nature of your ownership interest
Other such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
O Debtor 1 only
New Haven [1 Debtor 2 only
County Ef Debtor 1 and Debtor 2 only ea ;
Check if this is community property
oO At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for

pages you have attached for Part 1. Write that number here..............ccccssccccsssseseecssneesensaerevsssesseessaceusveceevseees => $149,000.00

 

 

 

Describe Your Vehicles

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B Schedule A/B: Property page 1

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Debtori Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known) _

3.

Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

[No
Ef Yes
3.1. Make: Ford Who has an interest in the property? Check one Do not deduct secured claims of exemptions Put
nae —_______ the amount of any secured claims on Schedule D:
Model: Taurus | O pebtor 1 only Creditors Who Have Claims Secured by Property.
Year:
2007 [1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 150000 FE pebtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1 At least one of the debtors and another
poor condition
CI check if this is community property $400.00 $400.00
{see instructions)
Ford . : ? Do not deduct secured claims or exemptions. Put
3.2 Make. a Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Econoline [] Debtor 4 only Creditors Who Have Claims Secured by Property.
Year: 1998
A998 C1 Debtor 2 only Current value of the Current value of the
Approximate mileage: 130000 Bi Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: C1] At least one of the debtors and another
poor condition
C] Check if this is community property $500.00 $500.00

 

 

 

(see instructions)

 

 

4.

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for $900.00

 

Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

EZ No
C] Yes

 

 

 

pages you have attached for Part 2. Write that nUMber Here... scsessssssaessesseesnececseseccssoscesesersessneesansataes => ee

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

 

 

 

 

 

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
TI No
Ei Yes. Describe...
| beds, couch, chairs, tables, none of any real value on the market | $100.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
[J No
Hl Yes. Describe.....
| laptop computer $100.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or basebail card collections;
other collections, memorabilia, collectibles
EZ No
Official Form 106A/B Schedule A/B: Property page 2

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Best Case Bankruptcy
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Debtor’ Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske Case number (if known)

 

C] Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

EI No
[] Yes. Describe.....

10. Firearms
Examples. Pistols, rifles, shotguns, ammunition, and related equipment

i No
[) Yes. Describe...

11. Clothes
Examples. Everyday clothes, furs, leather coats, designer wear, shoes, accessories

EI No
[] Yes. Describe.....

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

Ea No
Cl Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

EZ No
Cl Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
EB No
C] Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here .............cccccsccecssessesscssacsecuserscesneusersesensenestevsnenecaas $200.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

EI No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

OONo

Ia Yes Institution name:

17.1. checking Thomaston Savings Bank $77.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

EE No
CI Yes. institution or issuer name:
Official Form 106A/B Schedule A/B: Property page 3

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Debtor1 Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture
2 No

(9 Yes. Give specific information about them...
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

BB No

CD Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k}, 403(b), thrift savings accounts, or other pension or profit-sharing plans

Ed No

Cl Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

EZ No

FV es. ooo Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

Ei No

O] Yes issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

EB No
Ol Yes institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

EB No

CI Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet damain names, websites, proceeds from royalties and licensing agreements

Ei No
(] Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative assaciation holdings, liquor licenses, professional licenses

i No

C Yes. Give specific information about them...

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Money or property owed to you?

28. Tax refunds owed to you
No
C1 Yes. Give specific information about them, including whether you already filed the returns and the tax yeals.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Hi No

0 Yes. Give specific information......

Official Form 106A/B Schedule A/B: Property page 4

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known) _

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security

benefits; unpaid loans you made to someone else
Ea No

[ Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

EZ No

DO Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
IN

CI Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Ea No

(J Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Bi No

(J Yes. Describe each claim.........

35. Any financial assets you did not already list
I No

C1 Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

 

 

 

 

 

 

 

 

 

 

for Part 4. Write that number Were... cc cececcssesssceseecssesesstsesessssansnsseaessssesesecseseesessusssecansuenssesescescesuccecavacsaesens $77.00
_] Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
E@ No. Go to Part 6.
Cl ves. Go to line 38.
Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
f you own or have an interest in farmland, list it in Part 1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Ef No. Go to Part 7.
D1 Yes. Go to line 47.
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
i No
OO Yes. Give specific infarmation.........
54. Add the dollar value of all of your entries from Part 7. Write that number here .....00....cccccccsccnseeeeres $0.00
Official Form 106A/B Schedule A/B: Property page 5

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Debtor1 Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske Case number (if known)

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

55. Part 1: Total real estate, LIne 2... cssssssssecessesssseseesensensecousnsecsseesauseccessssaeeersassusessaeeaeusteseeaueatsetsonsonsensees $149,000.00
56. Part 2: Total vehicles, line 5 $900.00

57. Part 3: Total personal and household items, line 15 $200.00

58. Part 4: Total financial assets, line 36 $77.00

59. Part 5: Total business-related property, line 45 Ss $0.00.

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $1,177.00 | Copy personal property total $1,177.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $150,177.00
Official Form 106A/B Schedule A/B: Property page 6

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First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Belske
(Spouse if, filing) First Name Middie Name Last Name

United States Bankruptcy Court forthe: = DISTRICT OF CONNECTICUT

 

Case number
(if known) (] Check if this is an

amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 416

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If mare space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 

i identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
IB You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2) ,

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that ailow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
27 Clough Road Waterbury, CT $149,000.00 Bi $12,495.95 Conn. Gen. Stat. § 52-352b(t)
a . + .
06708-1817 New Haven County SE SSE $$
Line from Schedule A/B: 1.1 C] 400% of fair market value, up to

any applicable statutory limit

 

 

 

2001 Ford Taurus 150000 miles $400.00 ff $400.00 Conn. Gen. Stat. § 52-352b(j)
poor condition nae! —
Line from Schedule A/B: 3.1 Cl] 100% of fair market value, up to

any applicable statutory limit
1998 Ford Econoline 130000 miles $500.00 Bi $500.00 Conn. Gen. Stat. § 52-352b(j)
poor condition Sn EE —
Line from Schedule A/B: 3.2 DO 100% of fair market value, up to

any applicable statutory limit
beds, couch, chairs, tables, none of $100.00 g $100.00 Conn. Gen. Stat. § 52-352b(a)
any real value on the market - a
Line from Schedule A/B: 6.1 XC 400% of fair market value, up to

any applicable statutory limit

 

laptop computer $100.00 Ef $100.00 Conn. Gen. Stat. § 52-352b(r)
Line from Schedule A/B: 7.1 —_---s _.
O 400% of fair market value, up to
any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Debtor1 Jeffrey Alexander Belske

 

 

Debtor2 Elizabeth Ann Belske Case number (if knawn)
Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
checking: Thomaston Savings Bank $77.00 $77.00 Conn. Gen. Stat. § 52-352b(r)

Line from Schedule A/B: 17.1 OT

O 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

f@ No

LL] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

[] No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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n this information to identify you

 

Debtor 4 Jeffrey Alexander Belske

 

First Name Micdie Name
Elizabeth Ann Belske

Last Name

Debtor 2

 

(Spouse if, filing) First Name Middle Name Last Name

DISTRICT OF CONNECTICUT

United States Bankruptcy Court for the:

 

Case number
(if known)

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

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C1 Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?

(No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

& Yes. Fill in all of the information below.

List All Secured Claims

 

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately

Column A Column B

Column C

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral. claim if any
2.1 | Asset Acceptance, LLC Describe the property that secures the claim: $34,806.67 $149,000.00 $0.00
Creditor's Name 27 Clough Road Waterbury, CT
clo Tobin & Marohn 06708-1817 New Haven County
538 Preston Avenue
As of the date you file, the claim is: Check all that
Ste 270 apply
Meriden, CT 06450 oO Contingent
Number, Street, City, State & Zip Code Ol Unliquidated
O Disputed
Who owes the debt? Check one Nature of lien. Check all that apply.
C1 Debtor 4 only Clan agreement you made (such as mortgage or secured
Ci pebtor 2 only car loan)
E@ pebtor 1 and Debtor 2 only CI statutory lien (such as tax lien, mechanic's lien)
C1] At teast one of the debtors and another El Judgment lien from a lawsuit
[] check if this claim relates to a Ci other (including a right to offset)
community debt
Date debt was incurred 05/08/2015 Last 4 digits of accountnumber QLJK
2.2 | Bank of America, NA Describe the property that secures the claim: $1.00 $149,000.00 $0.00
Creditors Name 27 Clough Road Waterbury, CT
06708-1817 New Haven County
: As of the date you file, the claim is: Check ail th
4909 Savarese Circle apy © Claim IS: Check all that
_Tampa, FL. 33634 C1 contingent
Number, Street, City, State & Zip Code oO Uniiquidated
("] Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
1 Debtor 4 only An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
E@ pebtor 4 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C1 At teast one of the debtors and another =O Judgment lien from a lawsuit
CI] Check if this claim relates to a CJ other (including a right to offset)
community debt
Date debt was incurred 02/07/2007 Last 4 digits of account number 7497
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

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Debtor 1 Jeffrey Alexander Belske

 

 

First Name Middie Name Last Name
Debtor 2 Elizabeth Ann Belske
First Name Middie Name Last Name

 

 

 

 

Case number (if know)

Page 19 of 50

 

 

 

 

 

 

 

 

 

 

 

2.3 | Bayview Loan Servicing Describe the property that secures the claim: $96,830.38 $149,000.00 $0.00
Creditors Name 27 Clough Road Waterbury, CT
06708-1817 New Haven County
4425 Ponce De Leon Sth
5 Po As of the date you file, the claim is: Check all that
Floor apply
Coral Gables, FL33146 = [1 contingent
Number, Street, Cily, State & Zip Code C] Unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
C1 Debtor 1 only E@ An agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
E@ pebtor 1 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)
(J At least one of the debtors and another oO Judgment lien from a lawsuit
CF Check if this claim relates to a C other (including a right to offset)
community debt
Date debt was incurred 06/15/1999 Last 4 digits of account number
24 | Chase Mortgage Describe the property that secures the claim: $1.00 $149,000.00 $0.00
Creditor's Name 27 Clough Road Waterbury, CT
06708-1817 New Haven County
700 Kansas Lanemail
As of the date you file, the claim is: Check ail th
Code LA4-6945 apply. oo eek aliinat
Monroe, LA 71203 _ CF Contingent
Number, Street, City, State & Zip Code C1] Untiquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
CJ Debtor 4 only E2 An agreement you made (such as mortgage or secured
D Debtor 2 only car loan)
Ef pebtor 1 and Debtor 2 only O Statutory tien (such as tax lien, mechanic's lien)
(J at least one of the debtors and another O Judgment lien from a lawsuit
(] Check if this claim relates to a C1 other (including a right to offset)
community debt
Date debt was incurred 06/15/1999 Last 4 digits of account number
2.5 | Ditech Financial, LLC Describe the property that secures the claim: $4,865.00 $149,000.00 $0.00

 

 

Creditors Name

PO Box 15009
Tempe, AZ 85284

 

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

C1] Debior 1 only

CO] Debtor 2 only

i Debtor 7 and Debior 2 only

C1 at least one of the debtors and another

(J Check if this claim relates to a
community debt

Date debt was incurred 02/02/2017

 

27 Clough Road Waterbury, CT
06708-1817 New Haven County

 

 

As of the date you file, the claim is: Check all that

apply
oO Contingent
O Unliquidated

CA Disputed
Nature of lien. Check all that apply.

B An agreement you made (such as mortgage or secured

car loan)

O Statutory lien (such as tax lien, mechanic's lien)

O Judgment lien from a lawsuit
O other (including a right to offset)

 

Last 4 digits of account number

 

Officia! Form 106D

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Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page 2 of 3

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Debtor1 Jeffrey Alexander Belske Case number {if know}
First Name Middle Name Last Name
Debtor? Elizabeth Ann Belske
First Name Middle Name Last Name
Add the dollar value of your entries in Column A on this page. Write that number here: $1 36,504.05
lf this is the last page of your form, add the dolfar value totals from all pages.
Write that number here: $136,504.05

 

 

 

GEEYES List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

0

Name, Number, Street, City, State & Zip Code On which line in Part 1 did you enter the creditor? _ 2.3
O'Connell, Attmore & Morris
280 Trumbull Street Last 4 digits of account number _925S

Hartford, CT 06103-3598

 

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 3

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Debtor 4 Jeffrey Alexander Belske

 

 

 

First Name Middle Name Last Name
Debtor 2 Elizabeth Ann Belske
(Spouse if, filing} First Name Middie Name Last Name

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number
(if known) 0 Check if this is an

amended filing

 

 

Official Form 106E/F -
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

 

gi No. Go to Part 2
CJ ves.

List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

CI No. You have nothing to report in this part. Submit this form to the court with your other schedules.
BB ves.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than ane nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

Part 2.
Total claim
44 American Express Last 4 digits of accountnumber 2556 $1.00
Nonpriority Creditor's Name
PO Box 981537 When was the debt incurred? 04/19/2012
El Paso, TX 79998
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CJ Debtor 4 only O Contingent
C1 Debtor 2 only C] untiquidated
& Debtor 1 and Debtor 2 only Cc Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 Check if this claim is for a community C1 student loans
debt | Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
No ebts to pension or profit-sharing plans, and other similar debts
| C1 dent fit-sharing pl d other similar deb
C1 Yes @ other. Specity Consumer purchases
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 6

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Debtor 1 Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske

 

 

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Case number {if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

42 AT&T Last 4 digits of account number $3,500.00
Nonpriority Creditor's Name
1801 Valley View Ln When was the debt incurred?
Dallas, TX 75234
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
(J Debtor 1 only O Contingent
C1] debtor 2 only oO Unliquidated
a Debtor 1 and Debtor 2 only D Disputed
Cat teast one of the debtors and another Type of NONPRIORITY unsecured claim:
Cl Check if this claim is fora community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No Cl Debts to pension or profit-sharing plans, and other simiiar debts
D1 Yes @ other. Specify Phone service

4.3 Citicards CBNA Last 4 digits of account number 5833 $1.00
Nonpriority Creditor's Name
PO Box 6190 When was the debt incurred? 04/19/2012
Sioux Falls, SD 57117
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Cl Debtor 4 only CQ Contingent
O debtor 2 only oO Unliquidated
a Debtor 1 and Debtor 2 only oO Disputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
(J Check if this claim is fora community CI student loans
debt D Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ea No C] Debts to pension or profit-sharing plans, and other similar debts
C1 ves [i other. Specify Consumer purchases

44 ECMC Last 4 digits of account number 6503 $16,477.00
Nonpriority Creditors Name
111 South Washington Avenue When was the debt incurred? 09/19/2018
Ste 1400
Minneapolis, MN 55401
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
C] debtor 1 only Oo Contingent
C1 debtor 2 only (7 Untiquidated
EB Debtor 1 and Debtor 2 only C1 pisputed

T f NONPRIORITY laim:
C1 at teast one of the debtors and another ypeo unsecured claim
(1 check if this claim is fora community a Student loans
debt QO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ea No C] debis to pension or profit-sharing plans, and other similar debts
C] Yes C1 other. Specify
student loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 6

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Debtor 1 Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.5 EdFinancial Last 4 digits of account number 4953 $4,309.00
Nonpriority Creditor's Name
120 N. Seven Oaks Drive When was the debt incurred? 04/04/2006
Knoxville, TN 37922
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CI Debtor 1 only O Contingent
1 Debtor 2 only C] Unliquidated
4 Debtor 1 and Debtor 2 only C1 Disputed
C at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is for a community Hl Student loans
debt (J Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
EZ no CZ Debts to pension or profit-sharing plans, and other similar debts
CO Yes DO other. Specify
student loan
4.6 EdFinancial Last 4 digits of accountnumber 4954 $7,716.00
Nonpriority Creditor's Name
120 N. Seven Oaks Drive When was the debt incurred?
Knoxville, TN 37922
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
CI debtor 1 only QO Contingent
(1 Debtor 2 only O Unliquidated
E@ Debtor 1 and Debtor 2 only C1 Disputed
f im:
(J at least one of the debtors and another Type of NONPRIORITY unsecured claim
CJ Check if this claim is fora community Ei student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
I No C1 vebis to pension or profit-sharing plans, and other similar debts
C) Yes C1 other. Specify
student loan
47 EdFinancial CSLF Last 4 digits of account number 5EDO $4,309.00
Nonpriority Creditor's Name
120 N. Seven Oaks Drive When was the debt incurred? 04/04/2006
Knoxville, TN 37922
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one
CO pebtor 1 only O Contingent
C1 Debtor 2 only DO unliquidated
El Debtor 1 and Debtor 2 only CJ Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
( Check if this claim is fora community Hl student ioans
debt O Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
EI No CF Debts to pension or profit-sharing plans, and other similar debts
C1 ves OD) other. Specify
_ student loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 6

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Debtor1 Jeffrey Alexander Belske
Debtor 2 Elizabeth Ann Belske

 

 

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[ae | EdFinancial CSLF Last 4 digits of accountnumber 5EDO0 $7,716.00
Nonpriority Creditor's Name
120 N Seven Oaks Drive When was the debt incurred? 04/06/2006
Knoxville, TN 37922
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
[] Debtor 1 only C Contingent
C1 Debtor 2 only 0 Unliquidated
El Debtor 1 and Debtor 2 only C] Disputed
(J At east one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community student loans
debt C1 Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ei No C1 debts to pension or profit-sharing plans, and other similar debts
C] Yes Ci other. Specify
Student loan.
4.9 First PREMIER Bank Last 4 digits of accountnumber 1250 _ $16,517.49
Nonpriority Creditor's Name
PO Box 5529 When was the debt incurred?
Sioux Falls, SD 57117-5529
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
CD Debtor 4 only CO contingent
01 debtor 2 only oO Unliquidated
ta Debtor 1 and Debtor 2 only Cc Disputed
C1 at ieast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is for a community C1 student loans
debt 0 Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
@ No DZ Debts to pension or profit-sharing plans, and other similar debts
[1 Yes EI other. Speciy Consumer purchases
4.1 .
0 Granite State Management Last 4 digits of accountnumber 0909 $1.00
Nonpriority Creditor's Name
PO Box 2097 When was the debt incurred? 04/04/2006
Concord, NH 03302-2097
Number Street City State Zip Code As of the date you file, the claim is: Check alt that apply
Who incurred the debt? Check one.
C] Debtor 1 only O Contingent
(3 Debtor 2 only Ci unliquidated
E@ bebtor 1 and Debtor 2 only C1 disputed
1 atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] check if this claim is for a community i Student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C] Debts to pension or profit-sharing plans, and other similar debts
CF Yes C1 other. Specify
student loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 6

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske

 

 

 

 

 

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Case number (if know)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
PO Box 965024

Orlando, FL 32896-5024
Number Street City State Zip Code

Who incurred the debt? Check one.

CJ Debtor 4 only

C1 Debtor 2 only

g Debtor 1 and Debtor 2 only

[1 atleast one of the debtors and another

[7] Check if this claim is fora community
debt
Is the claim subject to offset?

| No
O yes

44 .
1 Granite State Managment Last 4 digits of account number 0908 $1.00
Nonpriorky Creditor's Name
PO Box 2097 When was the debt incurred? 04/04/2006
Concord, NH 03302-2097
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C1 bebtor 4 only CO Contingent
C1 pebior 2 only | Unliquidated
E@ Debtor 1 and Debtor 2 only [J Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(J Check if this claim is fora community Hil Student loans
debt C] Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ea no C Debts to pension or profit-sharing plans, and other similar debts
C] ves (J Other. Specify
student loan
41 .
2 Navient Last 4 digits of account number 2015 $13,027.00
Nonpriority Creditor's Name
128 Justison Street, 3d Floor When was the debt incurred? 04/06/2006
Wilmington, DE 19801
Nurnber Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
C1 pebtor 4 only O Contingent
C1 Debtor 2 onty 2 Unliquidated
E@ Debtor 1 and Debtor 2 only C) disputed
(1) At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community i Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Ei no C1 Debts to pension or profit-sharing plans, and other similar debts
CO ves C1 other. Specify
student loan
44
3 SYNCB/Wal-Mart Last 4 digits of account number 8024 $1.00

When was the debt incurred?

04/04/2014

 

As of the date you file, the claim is: Check all that apply

O Contingent
C unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

CD student ioans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 debts to pension or profit-sharing plans, and other similar debts

i other. Specity Consumer purchases

 

 

 

| List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske

 

Add the Amounts for Each Type of Unsecured Claim

Case number (if know)

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6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total
claims
from Part 1

Total
claims
from Part 2

Official Form 106 E/F

6a.

6b.
6c.
6d.

6e.

6f.

6g.

6h.

6i.

6}.

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add ail other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

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6a.

6b.
6c.

6e.

6f.

6h.

6i.

6j.

 

 

 

 

Total Claim
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
Total Claim

$ 53,556.00

 

 

$ 0.00
$ 0.00
g 20,020.49
$ 73,576.49

 

 

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Debtor 4 Jeffrey Alexander Belske

 

 

First Name Middle Name Last Name
Debtor 2 Elizabeth Ann Belske
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © DISTRICT OF CONNECTICUT

 

Case number
(if known) CL] Check if this is an

amended filing

 

 

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
E@ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

24

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

“Number Street

City State ZIP Code
24

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Debtor 4 Jeffrey Alexander Belske

First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Belske
{Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

 

Case number
(if known) {] Check if this is an

amended filing

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

Ed No
OO Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

4 No. Go to line 3.
Ci Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Nurnber, Street, City, State and ZIP Code Check all schedules that apply:
3.4 CF Schedule D, line
Name O Schedule EYF, line
[I Schedule G, line
Number Street
City State ZIP Code
3.2 [] Schedule D, line
Name O Schedule E/F, tine
CJ Schedule G, line
Number Street
Cily State ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Debtor 1 Jeffrey Alexander Belske

Debtor 2 Elizabeth Ann Belske
(Spouse, if filing)

 

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number Check if this is:
(If known) OO An amended filing

[J A supplement showing postpetition chapter
13 income as of the following date:

Official Form 1061 WMT DDIVYY
Schedule |: Your Income 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

Describe Employment

1. Fill in your employment

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, El Employed C) Employed
attach a separate page with Employment status ac:
information about additional C1 Not empioyed Not employed
employers. .
Occupation restaurant manager _
Include part-time, seasonal, or
self-employed work. Employer's name FIC Restaurants, Inc.

Occupation may include student Employer's address 1855 Boston Road
or homemaker, if it applies. Suite 200
Wilbraham, MA 01095
How long employed there? 9 months _

|| Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 2,817.17 $ 0.00
3. Estimate and list monthly overtime pay. 3. +9 0.00 «+8 0.00
4. Calculate gross Income. Add line 2 + line 3. 4. | $ 2,847.17 $ 0.00

 

 

 

 

Official Form 106t Schedule f: Your Income page |

 
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Debtor’ Jeffrey Alexander Belske

Debtor2 Elizabeth Ann Belske Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here . 4. $ 2,817.17, § 0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 317.37 $ 0.00
5b. Mandatory contributions for retirement plans 5b. § 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. $ 0.00 8 $ 0.00
5d. Required repayments of retirement fund loans 5d. $ 0.00 $ 0.00
5e. Insurance Se. $ 0.00 $ 0.00
5f. Domestic support obligations Sf 6 $ 0.00 $ 0.00
5g. Union dues 5g. $ 0.00 «$ 0.00
5h. Other deductions. Specify: 5h+ $ 0.00 + $ 0.00
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5gt5h. 6. § 317.37. $ 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 2,499.80 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a. § 0.00 $ 0.00
8b. Interest and dividends 8b. $ 0.00 $3 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8. = § 0.00 $ 0.00
8d. Unemployment compensation 8d. $ 0.00 $ 0.00
8e. Social Security 8e. $ 0.00 §$ 0.00
éf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: 8. $ 0.00 6$ 0.00
8g. Pension or retirement income 8g. $ 0.00 «6$ 0.00
8h. Other monthly income. Specify: 8h+ §$ 0.00 + $ 0.00
9. Addall other income. Add lines 8at+8b+8c+8d+8e+ 8ft+8gt8h. 9. 1$ 0.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9. 10. 1 $ 2,499.80 | +/$ 0.00 | =! $ 2,499.80
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. +4 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies $ _ 2,499.80
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No.

 

 

 

 

CO Yes. Explain:

 

Official Form 106] Schedule I: Your Income

page 2

 

 
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MUM Mere ine reliecris

 

 

 

Debtar 1 Jeffrey Alexander Belske Check if this is:

(1) An amended filing
Debtor 2 Flizabeth Ann Belske (Q Asupplement showing postpetition chapter
(Spouse. if filing) 13 expenses as of the following date:
United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT MM /DD/YYYY

 

Case number
(if Known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

01 No. Go to fine 2.
IZ Yes. Does Debtor 2 live in a separate household?

@ No
(1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents? Ef No

Do not list Debtor 1 and Cl Yes, Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you

      

Do not state the [] Na
dependents names. Cl Yes

[1 No
Cl Yes
[No
[1 Yes
CI No
CO Yes

 

 

 

 

3. Do your expenses include EI No
expenses of people other than oO
yourself and your dependents? Yes

 

E Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule |: Your Income
(Official Form 1061.) Your expenses

 

4. The rental or home ownership expenses for your residence. Include first mortgage

 

 

 

 

 

payments and any rent for the ground or lot. 4. $ 1,147.00

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00

4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00

4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00

4d. Homeowner's association or condominium dues Ad. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. §$ 0.00

 

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske

6.

om

11.
12.

13.
14.
15,

16.

17.

18.

20.

21.
22.

23,

24.

Official Form 106J

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Case number (if known)

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify:

 

Specify:

 

Installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:

 

17d. Other. Specify:

 

Specify:

 

20a, Mortgages on other property
20b. Real estate taxes

Other: Specify:

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Calculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

 

6a. $ _ 175.00
6b. $ 10.00
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 120.00
6d. $ 0.00
7. $ 1,000.00
8. § 700.00
9. $ 80.00
10. $ 80.00
11. $ 0.00
Transportation. Include gas, maintenance, bus or train fare. 12 $ 0.00
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. $ 0.00
15b. §$ 0.00
15c. §$ 0.00
18d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16. $ 0.00
17a. $ 0.00
17b. §$ 0.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule !, Your Income (Official Form 106l). 18. $ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your income.
20a. $ 0.00
20b. $ 0.00
20c. Property, homeowner's, or renter’s insurance 20c. $ 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +$ 0.00
$ 3,312.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $ 3,312.00
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a, $ 2,499.80
23b. Copy your monthly expenses from line 22c above. 23b. -$ 3,312.00
23c. Subtract your monthly expenses from your monthly income. 336.1$ 812.20

The result is your monthly net income.

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment ta increase or decrease because of a

modification to the terms of your mortgage?

El No.

 

0 Yes. Explain here:

Schedule J: Your Expenses

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OMe ie unc

Debtor 1 Jeffrey Alexander Belske

First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Beiske
(Spouse if, filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court forthe: DISTRICT OF CONNECTICUT

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42115

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

fe No

C] Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

 

xX X
Jeffrey Alexander Belske Elizabeth Ann Belske
Signature of Debtor 1 Signature of Debtor 2
Date _ Date
Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Debtor 1 Jeffrey Alexander Belske

First Name Middle Name Last Name

Debtor 2 Elizabeth Ann Belske
{Spouse if, tiling) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number
(if known) (] Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

] Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Ea Married
[Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Ei No

[1 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

Ei No
(1 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

   

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

No
[] Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ail that apply. (before deductions and Check ail that apply. (before deductions
exclusions) and exclusions)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Debtor 1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known)

 

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

i No
[] Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

 

|| List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

[1 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
XO No. Go to line 7.
[1 Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do

not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

 

Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Ei No. Goto line 7.

C Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as chiid support and

alimony.

Ei No

Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

No
[] Yes. List all payments to an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Debtor1 Jeffrey Alexander Belske
Debitor2 Elizabeth Ann Belske Case number (if known)

 

 

|] Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, smail claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

Cl No
El Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number
Bayview Loan Servicing, LLC v. foreclosure of Waterbury judicial district Pending
Belske mortgage 300 Grand Street C1 on appeal
UWY CV18 6040925 S Waterbury, CT 06702 Oe

oncluded

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

Ea No. Go to line 11.
C1 Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

No
C] Yes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was
taken

Amount

12.

Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

Ei No
Ol Yes

4) List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No
Cl Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Ea No

(Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed
Charity's Name
Address (Number, Street, City, State and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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|
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Debtor1 Jeffrey Alexander Belske

Debtor2 Elizabeth Ann Belske Case number (if known)

 

| List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

fi No

[1 Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred Include the amount that insurance has paid. List pending loss lost

insurance claims on line 33 of Schedule A/B: Property.

 

@ List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

“= =6NO

C) Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address

made
Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Hi No
(1 Yes. Fill in the details.

Person Who Was Paid

Description and value of any property Date payment
Address

Amount of
transferred

or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or martgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

Ei No

Ol Yes. Fill in the details.

Person Who Received Transfer Description and value of

Describe any property or Date transfer was
Address

property transferred payments received or debts made

paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a

beneficiary? (These are often called asset-protection devices.)
Ei No
[1 Yes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was

made

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known)

 

 

 

4 List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

i No

[] Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Gade) moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

Ea No

C Yes. Fill in the detaiis.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Ea No

O Yes. Fill in the details.

Name of Storage Facility : Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code)

 

_) Identify Property You Hold or Control for Someone Else

 

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

4 No

{1 Yes. Fill in the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)

Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

EZ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, and, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Ei No
O Yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Cade)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page §

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known)

 

 

25. Have you notified any governmental unit of any release of hazardous material?

No

CO Yes. Fill in the detaits.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

El No
Cl Yes. Fill in the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State and ZiP Code)
Oeipuble. Give Details About Your Business or Connections to Any Business

   

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

Cia sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
C] A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership
C1] An officer, director, or managing executive of a corporation
C1 An owner of at least 5% of the voting or equity securities of a corporation
Ed No. None of the above applies. Go to Part 12.

(J Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code} Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

El No
0 Yes. Fill in the details below.

Name Date Issued

Address
(Number, Street, City, State and ZIP Code)

Sign Below

 

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

Jeffrey Alexander Belske Elizabeth Ann Belske
Signature of Debtor 1 Signature of Debtor 2
Date Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
Ei No

D Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No

CI Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske Case number (if known)

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor 1 Jeffrey Alexander Belske

 

 

First Name Middle Name Last Name
Debtor 2 Elizabeth Ann Belske
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © DISTRICT OF CONNECTICUT

 

Case number
(if known) 1 Check if this is an

| amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 42/15

If you are an individual filing under chapter 7, you must fill out this form if:
i creditors have claims secured by your property, or

| you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

If two married people are filing together in a joint case, both are equaily responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

/ | List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identity the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor's (2? Surrender the property. CI No
name: [ Retain the property and redeem it.
C Retain the property and enter into a Cl Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:

securing debt:

 

 

Creditor's C9 Surrender the property. Ci No
name: C Retain the property and redeem it.

(J Retain the property and enter into a C1 Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:

securing debt:

 

 

Creditor's C1 Surrender the property. [I No
name: C] Retain the property and redeem it.

C) Retain the property and enter into a C1 Yes
Description of Reaffirmation Agreement.
property CO Retain the property and [explain]:

securing debt:

 

 

Creditors C Surrender the property, Ci No

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Case 19-30875 Doci1

Debtor1 Jeffrey Alexander Belske
Debtor2 Elizabeth Ann Belske

name:

Description of
property
securing debt:

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CO) Retain the property and redeem it

CJ Retain the property and enter into a
Reaffirmation Agreement.

CO Retain the property and [explain]:

Case number (if known)

Page 42 of 50

 

Cl Yes

 

 

 

@ List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessor’s name:
Description of leased
Property:

 

Under penaity of perjury, | declare that | have indicated m

2 Sign Below

property that is subject to an unexpired lease.

X

X

Will the lease be assumed?

No

Yes

No

Yes

No

Yes

No

Yes

No

Yes

OHoOoO oo oO Gb oO fp oa

No

O

Yes

O No

CO Yes

y intention about any property of my estate that secures a debt and any personal

 

 

Jeffrey Alexander Belske
Signature of Debtor 4

Date

Elizabeth Ann Belske
Signature of Debtor 2

Date

 

 

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

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Uren Cui

a Bron ae aa cee 2

 

Debtor 1 Jeffrey Alexander Belske

Debtor 2 Elizabeth Ann Belske EJ 4. There is no presumption of abuse

(Spouse, if filing}

(2. The calculation to determine if a presumption of abuse
applies will be made under Chapter 7 Means Test
Calculation (Official Form 122A-2).

United States Bankruptcy Court for the: District of Connecticut

 

Case number
(if known) L] 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

 

CO) Check if this is an amended filing

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 

 

  

Calculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
[] Not married. Fill out Column A, lines 2-11.
4 Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
C] Married and your spouse is NOT filing with you. You and your spouse are:
CZ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C Living separately or are legally separated. Fill out Column A, tines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before ail

 

 

 

 

 

 

 

 

 

payroll deductions). 2,817.17 § 0.00
3. Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. 0.00 § 0.00
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not

filled in. Do not include payments you listed on line 3. 0.00 $ 0.00
5. Net income from operating a business, profession, or farm

Debtor 1

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses -$ 0.00

Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 §$ 0.00
6. Net income from rental and other real property

Debtor 1

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses $ (0.00

Net monthly income from rental or other real property = $ 0.00 Copy here -> $ 0.00 § 0.00
7. Interest, dividends, and royalties $ 0.00 $ 0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

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Jeffrey Alexander Belske

 

 

 

Debtor 4
Debtor 2 Elizabeth Ann Belske Case number (if known)
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 §$ 0.00

 

Do not enter the amount if you contend that the amount received was a benefit under
the Sociai Security Act. Instead, list it here:

For you $ 0.00
For your spouse $ 0.00

 

9. Pension or retirement income. Do not include any amount received that was a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

benefit under the Social Security Act. $ 0.00 ¢$ 0.00
10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total below.
$ 0.00 $ 0.00
$ 0.00 $ 0.00
Total amounts from separate pages, if any. + $ 0.00) =«$ 0.00
11. Calculate your total current monthly income. Add lines 2 through 10 for _
each column. Then add the total for Column A to the total for Column B. $ 2,817.17 *$ 0.00 “$ 2,817.17
Total current monthly
income
Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income fromline 140 Copy line 11 here=> $ 2,817.17
Multiply by 12 (the number of months in a year) x 12
12b. The result is your annual income for this part of the form 12b.}g 33,806.04

 

 

 

13. Calculate the median family income that applies to you. Follow these steps:

Fillin the state in which you live.
Fill in the number of people in your household.

Fillin the median family income for your state and size of household. 13. }¢ 180,609.00
To find a list of applicable median income amounts, go online using the link specified in the separate instructions
for this form. This list may also be available at the bankruptcy clerk’s office.

 

 

 

 

14. How do the lines compare?

14a. Line 12h is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.
14b. (1 Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.
Sign Below

By si 5] here, | declare under penalty of perjury that the information on ys | os and in any attachments is true and correct.

S] JeW ren Balslee Z (Ruled Beblee

 

 

 

 

 

 

Jeffrey Alexander Belske Eli [S| Ann a

Signature of Debtor 1 Signature of Debtor 2f .
Date } (| Date S 30 | {

MM/DO /YYYY MM/DD AYYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.

 

 

If you checked line 14b, fill out Form 122A-2 and file it with this form.

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

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$245 filing fee
$75 administrative fee

+ $15 trustee surcharge

 

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

lf your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). if you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

 

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

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Chapter 12: Repayment plan for family
farmers or fishermen

 

filing fee

 

$200
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular

 

 

income
$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go to:
http:/Awww.uscourts. gov/bkforms/bankruptcy form

 

 

 

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false cath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

in addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html

In Alabama and North Carolina, go to:
htto:/Awww.uscourts.gov/F ederalCourts/Bankruptcy/
BankruptcyResources/ApprovedCredit

AndDebtCounselors.aspx.

 

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
District of Connecticut

Jeffrey Alexander Belske
Inre Elizabeth A Belske Case No.

 

Debtor(s) Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1, Pursuant to 11 U.S.C, § 329(a) and Fed, Bankr, P. 2016(b), | certify that [ am the attorney for the above named debtor(s) and that
compensation paid to me within one year befare the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered ar to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

 

 

 

For legal services, | have agreed to accept $ 1,415.00
Prior to the filing of this statement | have received $ 1,415.00
Balance Due $ 0.00
2. $__335.00 _ of the filing fee has been paid.
3. The source of the compensation paid to me was:
O Debtor El Other (specify): Debtors' family
4, The source of compensation to be paid to me is:
Debtor CK Other (specify):
5. @ | have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
C1 I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.
6, In return for the above-disclosed fee, ] have agreed to render legal service for all aspects of the bankruptcy case, including:

a. Analysis of the debtor's financial situation, and rendering advice (o the debtor in determining whether to file a petition in bankruptcy;
. Preparation and filing of any petition, schedules, statemeni of affairs and plan which may be required;

¢. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

d. [Other provisions as needed]

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in

this bankruptcy proceeding.
§ 34 ai Brae T- SlCr

Date 1 Gregory T-Nolan, Esq.
Signature of Attorney
Renzullo & Associates
65 Elm Street
Winsted, CT 06098
8603799885 Fax: 8607384906
_gtnolan55@hotmail.com

L Name of law firm

 

 

 

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United States Bankruptcy Court
District of Connecticut

Jeffrey Alexander Belske ;
Inre Elizabeth Ann Belske Case No,

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.

Date: 5 | 90 | Jo | { / s| Tee re“ BeolsiICe
. " Jeffrey Alexander Belske J
Signature of Debtor

me 5 {20/2814 Pep E lizaeelh Belsicg

: Elizabeth Ann Belske
Signature of Debtor

 

 

 

 

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